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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                            ENTERED
                                                                                           August 19, 2019
                            UNITED STATES DISTRICT COURT
                                                                                       David J. Bradley, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                BROWNSVILLE DIVISION

DIANA ALANIZ,                                    §
                                                 §
          Plaintiff,                             §
VS.                                              § CIVIL ACTION NO. 1:19-CV-72
                                                 §
AAA LOAN COMPANY,                                §
                                                 §
          Defendant.                             §

                                             ORDER

         The Court received the parties’ “Agreed Stipulation of Dismissal with Prejudice” (Docket
No. 11) in the above-captioned case. The parties stipulated and agreed to the dismissal of this
case with prejudice, with the parties bearing their respective costs. See Docket No. 11.
         Under Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff’s claims against
Defendant are DISMISSED with prejudice. The parties will bear their own attorney’s fees,
expenses, and costs of the Court. The Court hereby ORDERS the Clerk of the Court to close this
case.

         SIGNED this 19th day of August, 2019.


                                                  ___________________________________
                                                                    Rolando Olvera
                                                           United States District Judge




1/1
